Case 1:21-cv-02373-JDB-jay Document 1-1 Filed 06/04/21 Pagei1of11 PagelD6

EXHIBIT 1
Case 1:21-cv-02373-JDB-jay Document 1-1 Filed 06/04/21 Page 2of11 PagelD7
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IN THE CIRCUIT COURT OF CROCKETT COUNTY, TENNESSEE
TWENTY-EIGHTH JUDICIAL DISTRICT AT ALAMO

)
OLYMPIC STEAK AND PIZZA, LLC, ‘)
)
Plaintiff, )
)
Vv. ) CIRCUIT DIV. .
) DOCKET NO.
WESTERN WORLD INSURANCE COMPANY ) JURY DEMAND
)
Defendant. J
)
COMPLAINT FOR DAMAGES

COMES NOW, Olympic Steak and Pizza, LLC (“Policyholder”), by and through

counsel, arid upon information and belief would state to the Court as follows:
L. PARTIES TO PROCEEDINGS

1. Policyholder is a domestic corporation organized and with its principal place of
business in Tennessee. Policyholder owns the subject property located at 5711 Hwy 412, Bells,
TN 38006 (“Insured Premises”)

2. Defendant Western World Insurance Company (“Insurer”), NAIC CoCode 13196,
is a foreign corporation domiciled in the State of New Hampshire. Insurer can be served through
the Commissioner of Insurance to its Home Office located at 400 Parson’s Pond Drive, ‘Franklin

Lakes, NJ 07417-2600.

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CIRCUIT COURT OF CROCKETT CO,
Date He LA“2\

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Kim Kail, Circuit Courier )

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Tl. JURISDICTION AND VENUE

3, Insurer is duly licensed to sell Policies of Insurance in Tennessee, At all times
pertinent hereto, Insurer advertised, marketed, sold, and otherwise offered policies of insurance to
citizens of Crockett County, Tennessee. This Court has personal jurisdiction over the Defendant.

4, This action for breach of contract arises under Tennessee Common and Statutory
Law, in an amount not to exceed $500,000.00, over which, this Court has Subject Matter
Jurisdiction,

5. The subject Insured Premises, as well as the bulk of the witnesses are located in
Crockett County. The majority of the facts and circumstances that gave rise to this suit occurred

in Crockett County. Venue is proper.

IV. STATEMENT OF THE CASE

6. Policyholder purchased a Policy of Insurance from Insurer to cover the Insured

Premises that was in full force and effect on the date of this event. The policy number was

NPP8664937.

7. Insurer agreed to cover the Insured Premises from damage or loss in exchange for

valuable consideration as evidenced by the Policy,

8. At all times pertinent hereto Policyholders timely paid, and Insurer accepted,

consideration in the form of premium payments.

9. The Insured Premises were well maintained and free from significant deterioration

or preexisting damage.

10, On or about July 9, 2020, a certain severe weather event, which included high

velocity wind and large hail, seriously damaged the Insured Premises.
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11, Policyholder timely filed a claim with Insurer. The claim number was 157404.

12, An estimate and Proof of Loss were prepared and submitted to Insurer.

13. Policyholder completed all conditions precedent, pursuant to the Policy of
Insurance, that trigger the Insurer’s duty to pay.

14, Damage from wind and hail are covered perils. Insurer admitted there was covered
damage from wind and hail but significantly undervalued the claim.

15. Policyholder has demanded payment from Insurer, but Insurer has willfully refused
to pay the true amount of loss pursuant to the Policy of Insurance.

V. CAUSES OF ACTION
1, BREACH OF CONTRACT

16. Plaintiff hereby incorporates paragraphs 1-15 by reference as if verbatim,

17. Policyholder brings this action for Breach of Contract.

18. Insurer agreed to cover the Insured Premises from damage or loss in exchange for
valuable consideration as evidenced by the Policy of Insurance. Wind and Hail are covered perils
and not excluded under the Policy of Insurance.

19, At all times pertinent hereto Policyholder timely paid, and Insurer accepted,
consideration in the form of premium payments.

20. The Insured Premises were seriously damaged by wind and hail compromising
Policyholder’s roofing system and allowing moisture infiltration.

21.  - Policyholder timely filed a claim with Insurer and its estimate and Proof of Loss

were submitted to Insurer,
Case 1:21-cv-02373-JDB-jay Document 1-1 Filed 06/04/21, Page5of11 PagelD 10
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22.  Policyholder completed all conditions precedent, pursuant to the Policy, that trigger
the Insurer’s duty to pay.

23. Insurer admits there was covered wind and hail damage but significantly
undervalued the claim.

24. Insurer refuges to pay the true amount of loss, which is a material breach of the
agreement.

25.  Insurer’s failure in its duty is the cause and proximate cause of Policyholders
injuries including any continued damage from water infiltration to the Insured Premises.

2, COMPENSATORY DAMAGES

26. Plaintiffs hereby incorporate paragraphs 1-25 by reference as if verbatim.

27, Policyholder prays for an award of Compensatory Damages.

28.  Policyholder was injured when Insurer failed to perform on the contract and Policy
of Insurance when performance came due. Policyholder suffered damage from water infiltration
to the Insured Premises.

29. — Policyholder is entitled to compensatory damages to be restored to whole.

VI. PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully pray that the
Defendant be required to answer this Complaint, and that the Plaintiffs be awarded a judgment
against the Defendants for the following:

l. Policyholder prays for compensatory damages in an amount not to exceed
$500,000.00;

2. Policyholder prays for costs of this court; and,
Case 1:21-cv-02373-JDB-jay Document 1-1 Filed 06/04/21 Page 6o0f11 PagelD 11

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3, Policyholder prays for such other and further relief as this court may deem proper

and in the interest of justice.

PN AA ae

Respectfully submitted,

Jo eatl

Randall N.Sdngstad #018442
David ‘Hawk’ Allen #038177
Attorneys for the Plaintiffs
204 Court Avenue, Suite 505
Memphis, TN 38103

(901) 870-5500

randy @songstadlawfirm.com

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CROCKETT

OCKE _ STATE OF TENNESSEE case Number
Crvi, SUMMONS 258%

page 1 of 2
OLYMPIC STEAK AND PIZZA, LLC Vv. WESTERN WORLD INSURANCE COMPANY

Served On:

Western World Insuranes 500 James Robertson Parkway, Naghville. TN 37219
Company NAIC CoCode
13196

C/O Commissioner of
Insurance

You are hereby summoned to defind a civil action filed againat you in Circuit Court, Crockett County, Tennessee, Your defense must be made °
within thirty (30) days from the date this summons is served upon you. You are directed to file your defense with the clerk of the court and send a
copy to the plaintiffs attorney at the address listed below. Ifyou fail to defend this action by the below date, judgment by default may be rendered
against you for the relief sought in the complaint,

Issued: VW-tW- 2] \ i “ \V
Clerk/Deputy Clerk,

Attomey for Plaintiff! Randall N. Sonestad (901.870.5500)
254 Court Avenue, Suite $05, Memphis, TN 38103

NOTICE OF PERSONAL PROPERTY EXEMETION
TO THE DEFENDANT(S):; Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your awe and the other factors which are
listed in TCA § 26-2-301. Ifa judgment should be entered against you in this action and you wish to claim property az exempt, you must file a
written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and tay be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your self and your farnily and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to exercise it, you may wish to seek the counsel of a lawyer. Flease state file number on list.

Mail List to : Clerk, County

CERTIFICATION (UF APPLICABLE)

L, , Clerk of County do certify this to be a true and cortect copy of
the original summons issued in this case.

Date:

Clerk / Deputy Clerk

OFFICER’S RETURN; Please execute this summons and make your retum within ninety (90) days of issuance as provided by law.

I vertrfy that I have served this summons together with the complaint as follows:

Date: By:

Please Print: Officer, Title

Agency Address Signature

ADA: Ifyou need assistance or accommodations because of a disability, please call , ADA Coordinator, at( )

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RN

Case 1:21-cv-02373-JDB-jay Document 1-1 Filed 06/04/21 Page 8of11 PagelD 13

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County STATE OF TENNESSEE Case Number .
CIVIL SUMMONS 2595
page 2 of 2
OLYMPIC STEAK AND PYZZ.4.. ULC V. WESTERN WORLD INSURANCE COMPANY
RETURN ON SERVICE OF SUMMONS BY MAIL: I hereby certify and retum that on , 1 sent postage

prepaid, by registered return receipt mail or certified return receipt mail, a cortified copy of the summons and a copy of the complaint in the above

styled case, to the defendant . On T received the retwm receipt, which had been signed by
on . The retum receipt is attached to this original summons to be filed by the Court Clerk,
Date:
Notary Public / Daputy Cterk (Comm. Expires )
Signature of Plaintiff Plaintiff's Attorney (or Person Authorized to Serve Process)

(Attach return receipt on back)

ADA; Ifyou need assistance or accommodations because ofa disability, please ¢all ADA Coordinator, at ( )

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STATE OF TENNESSEE
Department of Commerce and Insurance
500 James Robertson Parkway
Nashville, TN 37243-1131
PH - 615.741.1670, FX - 615.532.2788
Service.Process@tn.gov

April 27, 2021

Western World Insurance Company Certified Mail
300 Kimball Drive, Suite 500 soo Return Receipt Requested ”
Parsippany, NJ 07054 7018 2290 0001 0486 1234
NAIC # 13196 Cashier # 211358

Re: Olympic Steak And Pizza Lie V. Western World Insurance Company
Docket # 3585

To Whom It May Concern

Pursuant to Tennessee Code Annotated §56-2-504 or § 56-2-506, the Department of
Commerce and Insurance was served April 26, 2021, on your behalf in connection with the
above-styled proceeding, Documentation relating to the subject is herain enclosed,

Designated Agent
Service of Process

Enclosures

cc; Circuit Court Clerk
Crockett County
138. Bells St, Courthouse, Ste 4
Alamo, Tn 38001
Case 1:21-cv-02373-JDB-jay Document 1-1 Filed 06/04/21 Page 10o0f11 PagelD 15

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CROCKETT

OCKE STATE OF TENNESSEE Case Number
CIVIL SUMMONS 2599

page l of 2

OLYMPIC STEAK AND PIZZA, LLC V. WESTERN WORLD INSURANCE COMPANY

Served On:

Western World Insurance 500 James, Robertson Parkway. Nashville, TN 37219
Company NAIC CoCade
13196

C/O Commissioner of
Insuranee

You are hereby summoned to defend @ civil action filed against you in Circuit Court, Crockett County, Tennesses, Your defense must be made
within thirty (30) days from the date this summons is served upon you. You are directed to file your defense with the clerk of the court and send a

copy to the plaintiff's attomey at the address listed below. Ifyou fail to defend this action by the below date, judgment by default may be rendered
against you for the relief sought in the complaint.

Issued: V\- \v4-2\ / '

Clerk/Depbuty Clerk

Attorney for Plaintiff: Randall N. Songstad (901,870,5500)
254 Court Avenue, Suite 505, Memphis, TN 38103

NOTICE OF PERSONAL PROPERTY EXEMPTION
TO THE DEFENDANT(S): Tennessec law provides a ten thousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or séizure to satisfy a judgment, The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA § 26-2-301. Ifa judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
written list, under oath, of the items you wish to claim as exempt with the clerk of the court, The list may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your self and your family and trunks or other receptatles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them. Ifyou do not understand your exemption
Tight or how to exercise it, you may wish to seek the counsel of a lawyer. Please state file nmmber on list.

Mail list to , Clerk, County

‘CERTIFICATION (IF APPLICABLE)

L , Clerk of
the original sunumons issued in this case,

County do certify this to be a true and correct copy of

Date:

Clerk / Deputy Clerk

OFFICER’S RETURN: Please execute this summons and make your retum within ninety (90) days of issuance as provided by law.

I certify that I have served this summons together with the complaint as follows:

Date: By:
” Please Print: Officer, Title

Agency Address Signature

ADA. Ifyou need assistance or accommodations because of a disability, please call _ ADA Caordinator, at ( )

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page 2 of 2
L OLYMPIC STEAK AND PIZZA, LLC V. WESTERN WORLD INSURANCE COMPANY
RETURN ON SERVICE OF SUMMONS BY MAIL: L hereby certify and retum that on , sent postage
prepaid, by registered return receipt mail or certified retun receipt mail, a certified copy of the summons and a copy of the complaint in the above
styled case, to the defendant . On Treceived the retum receipt, which had been signed by
on , The return receipt is attached to thig original summmons to be filed by the Court Clerk,
Date:
Notary Public / Deputy Clerk (Corum. Expires )
Signature of Plaintiff Plaintit’s Attomey (or Person Authorized to Serve Process)

(Attach return receipt on back)

ADA: Ifyou need assistance ar a¢¢ommodations because of a disability, please call , ADA Coordinator, at ( )

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